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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
CATHY O’BRIEN,                         :
                                       :
                                                      Case No.: _________________
                Plaintiff,             :
                                       :
                                                      COMPLAINT
      -against-                        :
                                       :
                                                      DEMAND FOR JURY TRIAL
TABLEAU SOFTWARE, INC., CHRISTIAN :
CHABOT, ADAM SELIPSKY, WILLIAM P. :
BOSWORTH, DR. PATRICK HANRAHAN, :
ELLIOTT H. JURGENSEN, JR., HILARIE     :
KOPLOW-MCADAMS, GERRI MARTIN-          :
FLICKINGER, JOHN MCADAM, BROOKE :
SEAWELL, and DR. CHRISTOPHER           :
STOLTE,                                :
                                       :
                Defendants.
-------------------------------------- X



       Plaintiff Cathy O’Brien (“Plaintiff”), by and through her attorneys, alleges the following

upon information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

                                  NATURE OF THE ACTION

       1.       This is an action brought by Plaintiff against Tableau Software, Inc. (“Tableau” or

the “Company”) and the members of the Company’s board of directors (collectively referred to as

the “Board” or the “Individual Defendants” and, together with Tableau, the “Defendants”) for their

violations of Sections 14(d), 14(e), and 20(a) of the Securities Exchange Act of 1934 (“Exchange

Act”), 15 U.S.C. §§ 78n(d), 78n(e), and 78t(a), respectively, and United States Securities and

Exchange Commission (“SEC”) Rule 14d-9, 17 C.F.R. §240.14d-9 (“Rule 14d-9”). Plaintiff’s

claims arise in connection with the tender offer (“Tender Offer”) by salesforce.com, inc.



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(“Salesforce”), to acquire all of the issued and outstanding shares of Tableau (the “Proposed

Merger”).

        2.       On June 9, 2019, Tableau entered into an agreement and plan of merger (the

“Merger Agreement”), whereby shareholders of Tableau common stock will receive 1.103 shares

of Salesforce common stock in exchange for each share of Tableau stock they own (the “Merger

Consideration”).

        3.       On July 3, 2019, in order to convince Tableau shareholders to tender their shares,

the Board authorized the filing of a materially incomplete and misleading Schedule 14D-9

Solicitation/Recommendation Statement (the “Recommendation Statement”) with the Securities

and Exchange Commission (“SEC”). In particular, the Recommendation Statement contains

materially incomplete and misleading information concerning: (i) the Company’s financial

projections; and (ii) the valuation analyses performed by the Company’s financial advisor,

Goldman Sachs & Co. LLC (“Goldman Sachs”).

        4.       The Tender Offer is scheduled to expire at midnight, Eastern Time, at the end of

July 31, 2019 (the “Expiration Date”). It is imperative that the material information that has been

omitted from the Recommendation Statement is disclosed to the Company’s shareholders prior

to the forthcoming Expiration Date so they may make an informed decision on whether to tender

their shares.

        5.       For these reasons, and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from closing the Tender Offer or taking any steps to consummate the Proposed Merger,

until the material information discussed below is disclosed to Tableau shareholders or, in the event

the Proposed Merger is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.




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                                 JURISDICTION AND VENUE

       6.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(d), 14(e), and 20(a) of the Exchange Act.

       7.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over each defendant by this Court permissible

under the traditional notions of fair play and substantial justice. “Where a federal statute such as

Section 27 of the [Exchange] Act confers nationwide service of process, the question becomes

whether the party has sufficient contacts with the United States, not any particular state.” Sec.

Inv’r Prot. Corp. v. Vigman, 764 F.2d 1309, 1315 (9th Cir. 1985). “[S]o long as a defendant has

minimum contacts with the United States, Section 27 of the Act confers personal jurisdiction over

the defendant in any federal district court.” Id. at 1316.

       8.       Venue is proper in this Court under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because Defendants are found or are inhabitants or

transact business in this District. Indeed, Tableau common stock trades on the New York Stock

Exchange, which is headquartered in this District, and the Defendants retained as a financial

advisor Goldman Sachs, which is also headquartered in this District, rendering venue in this

District appropriate. See, e.g., United States v. Svoboda, 347 F.3d 471, 484 n.13 (2d Cir. 2003)

(collecting cases).




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                                             PARTIES

       9.       Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Tableau common stock.

       10.      Defendant Tableau is a Delaware corporation and maintains its principal executive

office at 1621 North 34th Street, Seattle, Washington 98103. Tableau is a software company

specializing in data analysis. The Company’s common stock traded on the NYSE under the ticker

symbol “DATA”.

       11.      Individual Defendant Christian Chabot is a director of Tableau and is the

Chairman of the Board.

       12.      Individual Defendant Adam Selipsky is a director of Tableau and is the President

and Chief Executive Officer of the Company.

       13.      Individual Defendant William P. Bosworth is, and has been at all relevant times,

a director of the Company.

       14.      Individual Defendant Dr. Patrick Hanrahan is, and has been at all relevant times,

a director of the Company.

       15.      Individual Defendant Elliott H. Jurgensen, Jr. is, and has been at all relevant times,

a director of the Company.

       16.      Individual Defendant Hilarie Koplow-Mcadams is, and has been at all relevant

times, a director of the Company.

       17.      Individual Defendant Gerri Martin-Flickinger is, and has been at all relevant

times, a director of the Company.

       18.      Individual Defendant John McAdam is, and has been at all relevant times, a

director of the Company.




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       19.      Individual Defendant Brooke Seawell is, and has been at all relevant times, a

director of the Company.

       20.      Individual Defendant Dr. Christopher Stolte is, and has been at all relevant times,

a director of the Company.

       21.      The defendants identified in paragraphs 10-20 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

I.     Background of the Company and the Tender Offer

       22.      Tableau, incorporated on July 19, 2004, offers software products. The Company’s

products are used by people of skill levels across all kinds of organizations. Its technologies

include visual query language (VizQL), which translates drag-and-drop actions into data queries

and then expresses that information visually, and Hybrid Data Architecture, which combines the

power of Live Query and In-Memory Data Engines. VizQL unifies the formerly disparate tasks

of query and visualization and allows users to transform questions into pictures without the need

for software scripts, chart wizards or dialogue boxes. Live Query Engine allows users to connect

to volumes of data in its existing format and location. In-Memory Data Engine enables users to

import amounts of data into its own in-memory database. Tableau currently offers five key

products: Tableau Desktop, a self-service, powerful analytics product for anyone with data;

Tableau Server, a business intelligence platform for organizations; Tableau Online, a hosted

software-as-a-service (“SaaS”) version of Tableau Server; Tableau Prep, a data preparation

product for combining, shaping and cleaning data; and Tableau Public, a free cloud-based

platform for analyzing and sharing public data.

       23.      Salesforce, incorporated February 3, 1999, is a provider of enterprise software,




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delivered through the cloud, with a focus on customer relationship management (CRM). The

company focuses on cloud, mobile, social, Internet of Things (IoT) and artificial intelligence

technologies. The company’s service offerings are configured and integrated with other platforms

and enterprise applications. The company delivers its service offerings via Internet browsers and

on mobile devices. Its Customer Success Platform is a portfolio of service offerings providing

sales force automation, customer service and support, marketing automation, digital commerce,

community management, analytics, application development, IoT integration, collaborative

productivity tools, and its professional cloud services.

       24.     On June 10, 2019, Tableau and Salesforce issued a joint press release announcing

the Proposed Merger. The press release stated in relevant part:

                  Salesforce Signs Definitive Agreement to Acquire Tableau

         World’s #1 CRM and #1 analytics platform come together to supercharge
                         customers’ digital transformations

        Combination to accelerate Salesforce’s opportunity in the $1.8 trillion digital
                                   transformation space

        Customers will be able to unlock even greater value from their data to drive
          smarter business decisions and more intelligent customer experiences

          Tableau will be positioned to further its mission to help the world see and
                                       understand data

       SAN FRANCISCO, Calif. and SEATTLE, Wash. — June 10, 2019 -- Salesforce
       (NYSE:CRM), the global leader in CRM, and Tableau Software (NYSE: DATA),
       the leading analytics platform, have entered into a definitive agreement under
       which Salesforce will acquire Tableau in an all-stock transaction, pursuant to which
       each share of Tableau Class A and Class B common stock will be exchanged for
       1.103 shares of Salesforce common stock, representing an enterprise value of $15.7
       billion (net of cash), based on the trailing 3-day volume weighted average price of
       Salesforce's shares as of June 7, 2019.

       Comments on the news

       "We are bringing together the world’s #1 CRM with the #1 analytics platform.



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Tableau helps people see and understand data, and Salesforce helps people engage
and understand customers. It’s truly the best of both worlds for our customers--
bringing together two critical platforms that every customer needs to understand
their world,” said Marc Benioff, Chairman and co-CEO, Salesforce. “I’m thrilled
to welcome Adam and his team to Salesforce.”

“Salesforce’s incredible success has always been based on anticipating the needs
of our customers and providing them the solutions they need to grow their
businesses,” said Keith Block, co-CEO, Salesforce. “Data is the foundation of every
digital transformation, and the addition of Tableau will accelerate our ability to
deliver customer success by enabling a truly unified and powerful view across all
of a customer's data.”

“Joining forces with Salesforce will enhance our ability to help people everywhere
see and understand data,” said Adam Selipsky, President and CEO of Tableau. "As
part of the world’s #1 CRM company, Tableau’s intuitive and powerful analytics
will enable millions more people to discover actionable insights across their entire
organizations. I’m delighted that our companies share very similar cultures and a
relentless focus on customer success. I look forward to working together in support
of our customers and communities."

Combination to Supercharge Digital Transformation

With Tableau, Salesforce will play an even greater role in driving digital
transformation, enabling companies around the world to tap into data across their
entire business and surface deeper insights to make smarter decisions, drive
intelligent, connected customer experiences and accelerate innovation.

Companies of every size and industry are transforming how they do business in the
digital age—customers and data are at the heart of those transformations. This
creates an incredible opportunity for Salesforce and Tableau, as IDC projects
worldwide spending on technologies and services that will enable digital
transformation to reach $1.8 trillion in 2022.1

With Customer 360, only Salesforce can provide companies with a complete,
intelligent view of their customers across every touchpoint—sales, service,
marketing, commerce and more. Salesforce pioneered AI for CRM with Salesforce
Einstein, and today delivers AI-powered analytics for sales and marketing.

With Tableau and Einstein together, Salesforce will deliver the most intelligent and
intuitive analytics and visualization platform for every department and every user
at any company. Tableau will make both Customer 360 and Salesforce’s analytics
capabilities stronger than ever, and enable the company to reach a much broader
set of customers and users.

Tableau to Scale and Further Its Mission as Part of Salesforce



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Tableau pioneered self-service analytics with an intuitive analytics platform that
empowers people of any skill level to work with data. More than 86,000
organizations around the world, such as Charles Schwab, Verizon, Schneider
Electric, Southwest and Netflix, rely on Tableau to help them see and understand
data.

As part of Salesforce, Tableau will be positioned to scale and further its mission to
help people see and understand data. Following the acquisition close, Tableau will
operate independently under the Tableau brand, driving forward a continued focus
on its mission, customers and community. As part of the world’s #1 CRM company,
Tableau will remain headquartered in Seattle, Wash. and will continue to be led by
CEO Adam Selipsky and the current leadership team.

A Shared Commitment to Empowering Communities

Salesforce and Tableau share a deep commitment to empowering their
communities, enabling people of every skill level to transform their businesses,
their careers, and their lives through technology. Salesforce has a growing
community of more than 1.4 million Trailblazers, and the Tableau Community
consists of more than 1 million passionate data enthusiasts.Together, the two
communities will represent the largest group of digital business experts in the
world—millions of people understanding and transforming the world through data.

Details Regarding the Proposed Tableau Acquisition

Salesforce and Tableau have entered into a definitive agreement under which
Salesforce will acquire Tableau in an all-stock transaction, pursuant to which each
share of Tableau Class A and Class B common stock will be exchanged for 1.103
shares of Salesforce common stock, representing an enterprise value of $15.7
billion (net of cash), based on the trailing 3-day volume weighted average price of
Salesforce's shares as of June 7, 2019. The transaction is intended to be tax free for
Tableau stockholders (except with respect to cash for fractional shares).

The transaction has been approved by the boards of directors of both companies.

Under the terms of the transaction, Salesforce will commence an exchange offer to
acquire all of the outstanding shares of Tableau. The acquisition of Tableau is
expected to be completed during Salesforce’s fiscal third quarter ending October
31, 2019, subject to customary closing conditions, including the tender by Tableau
stockholders of shares representing a majority of the Tableau common stock voting
power, assuming all shares tendered or converted will be counted on a one-vote-
per-share basis, and the receipt of regulatory approvals. Christian Chabot, Patrick
Hanrahan and Christopher Stolte, the founders of Tableau, have all entered into an
agreement with Salesforce in connection with the transaction, and have indicated
that they intend to tender all of their shares in the exchange offer.



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Financial Impact to Salesforce of the Proposed Tableau Acquisition

FY20 Revenue: The transaction is expected to increase Salesforce’s FY20 total
revenue by approximately $350 million to $400 million. This estimate reflects a
fair value adjustment to reduce unearned revenue and unbilled unearned revenue
by approximately 30%, adjustments related to the combined customer base, and
inter-company revenue elimination, as required by U.S. GAAP. FY20 Revenue is
now expected to be $16.45 billion to $16.65 billion, an increase of 24% to 25%
year-over-year.

FY20 non-GAAP operating margin: The transaction is expected to decrease
Salesforce’s FY20 non-GAAP operating margin by approximately (75) basis points
year-over-year.

FY20 non-GAAP EPS: As discussed further below, guidance updates for GAAP
EPS for all periods discussed are not currently available and Salesforce expects to
provide the applicable updates when the transaction has closed and the purchase
accounting has been completed. The acquisition is expected to decrease FY20 non-
GAAP diluted EPS by approximately ($0.37) to ($0.39). FY20 Non-GAAP EPS is
now expected to be $2.51 to $2.53. This estimate assumes fully diluted share count
of approximately 900 million, and a non-GAAP tax rate of 22.5%.

FY20 Operating Cash Flow: Operating Cash Flow is now expected to be in the
range of 21% to 22% year-over-year.

These estimates assume a close date on or about October 1, 2019, and certain
assumptions related to non-GAAP tax rates. Actual results could differ materially
based on the actual transaction close date. Salesforce is not currently able to prepare
an accurate forecast for the full year impact of the acquisition on GAAP EPS and
will not be able to do so until the purchase accounting is concluded after the
transaction closes. The impact on GAAP EPS is expected to be more significant
than for non-GAAP EPS due to the additional stock-based compensation charges
and the impact of other various non-cash items, including amortization of
acquisition-related intangibles and income tax adjustments.

Non-GAAP Financial Measures: This press release includes information about
non-GAAP operating margin, non-GAAP EPS and non-GAAP tax rates
(collectively the "non-GAAP financial measures"). The primary purpose of using
non-GAAP financial measures is to provide supplemental information that may
prove useful to investors who wish to consider the impact of certain non-cash or
non-recurring items on the company’s operating performance and to enable
investors to evaluate the company’s results in the same way management does.
Non-GAAP operating margin and non-GAAP EPS estimates exclude the impact of
the following non-cash items: stock-based compensation, amortization of
acquisition-related intangibles, as well as income tax adjustments. The non-GAAP
tax rate estimate excludes the tax adjustments and tax consequences associated with
the above excluded non-cash expense items. The method used to produce non-


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       GAAP financial measures is not computed according to U.S. generally accepted
       accounting principles and may differ from the methods used by other companies.
       Non-GAAP financial measures are not meant to be considered in isolation or as a
       substitute for comparable GAAP measures and should be read only in conjunction
       with the company's consolidated financial statements prepared in accordance with
       GAAP.

       25.     The Merger Consideration is inadequate consideration for Tableau shareholders

and does not reflect fair value for the Company. Further, the Recommendation Statement

concedes that the Company’s executive officers and the members of the Board have interests in

the Proposed Merger “that are different from, or in addition to, the interests of the Tableau

stockholders generally.” Recommendation Statement at 3-4. These interests include, but are not

limited to, lucrative golden parachute compensation, continued employment with the post-close

entity, and the vesting of restricted stock units and options that would result from the

consummation of the Proposed Merger. It is therefore imperative that shareholders receive the

material information (discussed in detail below) that Defendants have omitted from the

Recommendation Statement, which is necessary for shareholders to make an informed decision

on whether to tender their shares in the Tender Offer.

II.    The Recommendation Statement Is Materially Incomplete and Misleading

       26.     On July 3, 2019, Defendants filed a materially incomplete and misleading

Recommendation Statement with the SEC.           The Individual Defendants were obligated to

carefully review the Recommendation Statement before it was filed with the SEC and

disseminated to the Company’s shareholders to ensure that it did not contain any material

misrepresentations or omissions. However, the Recommendation Statement misrepresents or

omits material information that is necessary for Tableau shareholders to make an informed

decision concerning whether to tender their shares, in violation of Sections 14(d), 14(e), and 20(a)

of the Exchange Act and Rule 14d-9.




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The Misleadingly Incomplete Financial Projections

       27.     First, the Recommendation Statement entirely omits the financial projections for

the pro forma combined entity (the “Pro Forma Projections”). In connection with rendering their

fairness opinion and performing its underlying financial analyses, Goldman Sachs reviewed

“forecasts for Salesforce pro forma for the transactions, in each case, as prepared by the

management of Tableau and approved for Goldman Sachs’ use by Tableau.’” Recommendation

Statement at 35. Additionally, on pages 58-59 of the Recommendation Statement, the Board

listed the “material” factors and benefits for recommending Tableau shareholders consent to the

Proposed Merger, including the following:

       The fact that the transaction consideration to be paid to the Tableau stockholders
       would be in the form of shares of Salesforce common stock, and, as such, would
       offer the Tableau stockholders the ability (i) to participate in the future growth of
       Salesforce and, indirectly, Tableau, including any potential appreciation that may
       be reflected in the value of the combined company (including any resulting
       synergies), and (ii) to attain liquidity should any such Tableau stockholder choose
       not to retain its shares of Salesforce common stock.

Recommendation Statement at 27.

       28.     The Pro Forma Projections served as a primary reason for the Board to approve

and recommend the Proposed Merger and for Goldman Sachs to find the Merger Consideration

“fair” to Tableau shareholders. The Pro Forma Projections are plainly material and speak squarely

to the question that the Company’s shareholders must answer in determining whether to consent

to the Proposed Merger: is a smaller stake in the combined company more or less valuable than

a full stake in the standalone company? Without the Pro Forma Projections, Defendants present

the Company’s shareholders with only a fraction of the equation, rendering them unable to answer

this question and assess the fairness of the Proposed Merger.

       29.     Second, the Recommendation Statement omits critical financial projections,




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including Tableau’s net income projections (the “Net Income Projections”). Defendants elected

to summarize the projections for Tableau in the Recommendation Statement but they excised and

failed to disclose the Net Income Projections despite the fact that the included multiple EBIT

figures which were based directly on net income. This means that the Net Income Projections

were readily available but inexplicably excluded from the Recommendation Statement.

       30.     Therefore, by disclosing the EBIT figures in the Recommendation Statement and

withholding the Net Income Projections, Defendants render the tables of projections on pages 32-

33 of the Recommendation Statement materially incomplete and provide a misleading valuation

picture of Tableau. Simply put, net income projections are irreplaceable when it comes to fully,

fairly, and properly understanding a company’s projections and value.

       31.     Unlike poker where a player must conceal his unexposed cards, the object of a

solicitation/recommendation statement is to put all one’s cards on the table face-up. In this case

only some of the cards were exposed—the others were concealed. If a recommendation statement

discloses financial projections and valuation information, such projections must be complete and

accurate. The question here is not the duty to speak, but liability for not having spoken enough.

With regard to future events, uncertain figures, and other so-called soft information, a company

may choose silence or speech elaborated by the factual basis as then known—but it may not

choose half-truths. Accordingly, Defendants have disclosed some of the projections relied upon

by Goldman Sachs and the Board, but have omitted the Pro Forma Projections and the Net Income

Projections. Thus, their omission renders the projections disclosed on pages 32-33 and the

summary of the Board’s Reasons for the Offer and the Merger included in the Recommendation

Statement misleading.




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The Misleadingly Incomplete Summary of Goldman Sachs’ Fairness Opinion

       32.     Second, Recommendation Statement describes Goldman Sachs’ fairness opinion

and the various valuation analyses performed in support of its opinion. Defendants concede the

materiality of this information in citing Goldman Sachs’ fairness opinion among the “material

factors that, in the view of the Tableau Board, weighed in favor of the transactions”.

Recommendation Statement at 27. However, the summary of Goldman Sachs’ fairness opinion

and analyses provided in the Recommendation Statement fails to include key inputs and

assumptions underlying the analyses. Without this information, as described below, Tableau’s

shareholders are unable to fully understand these analyses and, thus, are unable to determine what

weight, if any, to place on Goldman Sachs’ fairness opinion in determining whether to consent to

the Proposed Merger. This omitted information, if disclosed, would significantly alter the total

mix of information available to Tableau’s shareholders.

       33.     In summarizing the Discounted Cash Flow Analysis prepared by Goldman Sachs,

the Recommendation Statement fails to disclose the following key information used in their

analysis: (i) the actual inputs and assumptions underlying the calculation of the discount rate

range of 8.0% to 10.0% (including the values of the WACC and CAPM components); (ii) the

inputs and assumptions underlying the perpetuity growth rate range of 2.5% to 4.5% used to

calculate the terminal values; (iii) the actual terminal values calculated for each analysis; and (iv)

the amount of net cash used to adjust Tableau’s enterprise value.

       34.     These key inputs are material to Tableau shareholders, and their omission renders

the summary of the Discounted Cash Flow Analysis incomplete and misleading. As a highly-

respected professor explained in one of the most thorough law review articles regarding the

fundamental flaws with the valuation analyses bankers perform in support of fairness opinions,




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in a discounted cash flow analysis a banker takes management’s forecasts, and then makes several

key choices “each of which can significantly affect the final valuation.” Steven M. Davidoff,

Fairness Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such choices include “the appropriate

discount rate, and the terminal value…” Id. As Professor Davidoff explains:

       There is substantial leeway to determine each of these, and any change can
       markedly affect the discounted cash flow value. For example, a change in the
       discount rate by one percent on a stream of cash flows in the billions of dollars can
       change the discounted cash flow value by tens if not hundreds of millions of
       dollars….This issue arises not only with a discounted cash flow analysis, but with
       each of the other valuation techniques. This dazzling variability makes it difficult
       to rely, compare, or analyze the valuations underlying a fairness opinion unless full
       disclosure is made of the various inputs in the valuation process, the weight
       assigned for each, and the rationale underlying these choices. The substantial
       discretion and lack of guidelines and standards also makes the process vulnerable
       to manipulation to arrive at the “right” answer for fairness. This raises a further
       dilemma in light of the conflicted nature of the investment banks who often provide
       these opinions.

Id. at 1577-78.

       35.        Without the above-omitted information Tableau shareholders are misled as to the

reasonableness or reliability of Goldman Sachs’ analyses, and unable to properly assess the

fairness of the Proposed Merger. As such, these material omissions render the summary of the

Discounted Cash Flow Analysis included in the Recommendation Statement misleading.

       36.        Additionally, with respect to Goldman Sachs Public Comparables Analysis, the

Recommendation Statement fails to disclose the individual multiples for each company utilized

in the analysis. A fair summary of a comparable companies or transactions analysis requires the

disclosure of the individual multiples for each company—as clearly demonstrated in summary of

the similar Precedent Transactions Analysis directly preceding the companies analysis. Merely

providing the median that a banker applied is insufficient, as shareholders are unable to assess

whether the banker applied appropriate multiples, or, instead, applied unreasonably low multiples




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in order to present the Merger Consideration in the most favorable light. Accordingly, the

omission of this material information renders the summary of this analysis provided in the

Recommendation Statement misleading.

          37.   Similarly, the Recommendation Statement purports to summarize the Precedent

Premium Analysis performed by Goldman Sachs without identifying the individual transactions

or premiums. For the same reasons as stated in connection with the companies analysis,

shareholders are unable to assess whether the banker selected appropriate premiums, or, instead,

applied unreasonably low premiums in order to present the Merger Consideration in the most

favorable light. Accordingly, the omission of this material information renders the summary of

this analysis provided in the Recommendation Statement misleading.

          38.   In sum, the omission and/or misstatement of the above-referenced information

renders statements in the Recommendation Statement materially incomplete and misleading in

contravention of the Exchange Act. Absent disclosure of the foregoing material information prior

to the expiration of the Tender Offer, Plaintiff and other Tableau shareholders will be unable to

make a fully-informed decision regarding whether to tender their shares, and they are thus

threatened with irreparable harm, warranting the injunctive relief sought herein.

                                              COUNT I

           (Against All Defendants for Violation of Section 14(e) of the Exchange Act)

          39.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          40.   Section 14(e) of the Exchange Act provides that it is unlawful “for any person to

make any untrue statement of a material fact or omit to state any material fact necessary in order

to make the statements made, in the light of the circumstances under which they are made, not




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misleading…” 15 U.S.C. §78n(e).

          41.   Defendants violated § 14(e) of the Exchange Act by issuing the Recommendation

Statement in which they made untrue statements of material facts or failed to state all material

facts necessary in order to make the statements made, in the light of the circumstances under

which they are made, not misleading, in connection with the Tender Offer. Defendants knew or

recklessly disregarded that the Recommendation Statement failed to disclose material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

          42.   The Recommendation Statement was prepared, reviewed, and/or disseminated by

Defendants. It misrepresented and/or omitted material facts, including material information

about the consideration offered to shareholders via the Tender Offer and the intrinsic value of the

Company.

          43.   In doing so, Defendants made untrue statements and/or omitted material facts

necessary to make the statements made not misleading. Each of the Individual Defendants, by

virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(e). The Individual Defendants were

therefore reckless, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Recommendation Statement, but nonetheless failed to obtain and

disclose such information to shareholders although they could have done so without extraordinary

effort.

          44.   The omissions and incomplete and misleading statements in the Recommendation

Statement are material in that a reasonable shareholders would consider them important in

deciding whether to tender their shares. In addition, a reasonable investor would view the




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information identified above which has been omitted from the Recommendation Statement as

altering the “total mix” of information made available to shareholders.

          45.   Defendants knowingly or with deliberate recklessness omitted the material

information identified above from the Recommendation Statement, causing certain statements

therein to be materially incomplete and therefore misleading.            Indeed, while Defendants

undoubtedly had access to and/or reviewed the omitted material information in connection with

approving the Proposed Merger, they allowed it to be omitted from the Recommendation

Statement, rendering certain portions of the Recommendation Statement materially incomplete

and therefore misleading.

          46.   The misrepresentations and omissions in the Recommendation Statement are

material to Plaintiff, and Plaintiff will be deprived of her entitlement to make a fully informed

decision if such misrepresentations and omissions are not corrected prior to the Expiration Date.

                                             COUNT II

 (Against all Defendants for Violations of Section 14(d) of the Exchange Act and SEC Rule
                               14d-9, 17 C.F.R. § 240.14d-9)

          47.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          48.   Defendants have caused the Recommendation Statement to be issued with the

intention of soliciting shareholder support of the Proposed Merger.

          49.   Section 14(d) of the Exchange Act and SEC Rule 14d-9 promulgated thereunder

require full and complete disclosure in connection with tender offers. Specifically, Section

14(d)(4) provides that:

                Any solicitation or recommendation to the holders of such a security
                to accept or reject a tender offer or request or invitation for tenders
                shall be made in accordance with such rules and regulations as the



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                Commission may prescribe as necessary or appropriate in the public
                interest or for the protection of investors.

        50.     SEC Rule 14d-9(d), which was adopted to implement Section 14(d)(4) of the

Exchange Act, provides that:

                Information required in solicitation or recommendation. Any
                solicitation or recommendation to holders of a class of securities
                referred to in section 14(d)(1) of the Act with respect to a tender
                offer for such securities shall include the name of the person making
                such solicitation or recommendation and the information required
                by Items 1 through 8 of Schedule 14D-9 (§ 240.14d-101) or a fair
                and adequate summary thereof.

        51.     In accordance with Rule 14d-9, Item 8 of a Schedule 14D-9 requires a Company’s

directors to:

                Furnish such additional information, if any, as may be necessary to
                make the required statements, in light of the circumstances under
                which they are made, not materially misleading.

        52.     The omission of information from a recommendation statement will violate

Section 14(d) and Rule 14d-9 if other SEC regulations specifically require disclosure of the

omitted information.

        53.     The Recommendation Statement violates Section 14(d) and Rule 14d-9 because it

omits material facts, including those set forth above, that render the Recommendation Statement

misleadingly incomplete. Defendants knowingly or with deliberate recklessness omitted the

material information identified above from the Recommendation Statement, causing certain

statements therein to be materially incomplete and therefore misleading.            Indeed, while

Defendants undoubtedly had access to and/or reviewed the omitted material information in

connection with approving the Proposed Merger, they allowed it to be omitted from the

Recommendation Statement, rendering certain portions of the Recommendation Statement

materially incomplete and therefore misleading.



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          54.    The misrepresentations and omissions in the Recommendation Statement are

material to Plaintiff, and Plaintiff will be deprived of her right to make a fully informed decision

if such misrepresentations and omissions are not corrected prior to the Expiration Date.

                                              COUNT III

           (Against all Defendants for Violations of Section 20(a) of the Exchange Act)

          55.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          56.    The Individual Defendants acted as controlling persons of Tableau within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Tableau, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Recommendation Statement filed with the SEC, they had the power to influence and control

and did influence and control, directly or indirectly, the decision making of the Company,

including the content and dissemination of the various statements that Plaintiff contends are

materially incomplete and misleading.

          57.    Each of the Individual Defendants was provided with or had unlimited access to

copies of the Recommendation Statement and other statements alleged by Plaintiff to be

misleading prior to and/or shortly after these statements were issued and had the ability to prevent

the issuance of the statements or cause the statements to be corrected.

          58.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Recommendation Statement contains the




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unanimous recommendation of each of the Individual Defendants to approve the Tender Offer.

They were thus directly involved in preparing the Recommendation Statement.

       59.     In addition, as the Recommendation Statement sets forth at length, and as

described herein, the Individual Defendants were involved in negotiating, reviewing, and

approving the Merger Agreement. The Recommendation Statement purports to describe the

various issues and information that the Individual Defendants reviewed and considered, yet omits

self-identified material information therein. The Individual Defendants participated in drafting

and/or gave their input on the content of those descriptions.

       60.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       61.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Sections 14(e) and 14(d) and

Rule 14d-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act.

As a direct and proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably

harmed.

       62.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily enjoining Defendants and all persons acting in concert with them

from proceeding with the Tender Offer or taking any steps to consummate the Proposed Merger,




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until the Company discloses the material information discussed above which has been omitted

from the Recommendation Statement;

       B.      Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages

       C.      Directing the Defendants to account to Plaintiff for all damages sustained as a result

of their wrongdoing;

       D.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.



 Dated: July 11, 2019                                 MONTEVERDE & ASSOCIATES PC
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